     Case 4:17-cv-04123-LLP
Naambwe/Nimenya  vs.        Document 85-1 Filed 10/18/18 Page 1 of 25 PageID #: 1579
                                                                      Dr. William  C. Fuller
Smithfield Foods, Inc.                                                   September 24, 2018
                                                               1                                                                3

   1             UNITED STATES DISTRICT COURT                       1                        S T I P U L A T I O N
                   DISTRICT OF SOUTH DAKOTA
   2                  SOUTHERN DIVISION
                                                                    2              It is hereby stipulated and agreed, by and
   3     * * * * * * * * * * * * * * * * * * * * * * * *
                                                                    3        between the above-named parties through their
   4     SALA NAAMBWE and YVETTE NIMENYA,
                                                                    4        attorneys of record, whose appearances have been
   5             Plaintiff,         Case: 4:17-cv-04123-LLP
                                                                    5        hereinabove noted, that the deposition of
   6     vs.
                                    Avera Medical Group
   7                                 Behavioral Health
                                                                    6        DR. WILLIAM C. FULLER m a y b e t a k e n a t t h i s t i m e
         SMITHFIELD FOODS, INC.,    Sioux Falls, SD
   8                                September 24, 2018              7        and place, that is, at Avera Medical Group
                 Defendant.         4:35 p.m.
   9                                                                8        Behavioral Health Center, Sioux Falls, South
         * * * * * * * * * * * * * * * * * * * * * * * * *
  10                                                                9        Dakota, on the 24th of September, 2018,
                        D E P O S I T I O N     O F
  11
                          DR. WILLIAM C. FULLER                    10        commencing at the hour of 4:35 p.m.; said
  12
         * * * * * * * * * * * * * * * * * * * * * * * * *         11        deposition taken before Suzanne Brudigan, RPR,
  13
         APPEARANCES                                               12        CSR, a Notary Public within and for the State of
  14
         Ms. Stephanie Pochop, Esq.
  15     Johnson, Pochop & Bartling
                                                                   13        South Dakota; said deposition taken for the
         PO Box 149
  16     Gregory, South Dakota                                     14        purpose of discovery or for use at trial or for
                                for the Plaintiffs
  17                                                               15        each of said purposes, and said deposition is
         Ms. Andrea R. Calem
  18     Hunton Andrews Kurth LLP                                  16        taken in accordance with the applicable Rules of
         2200 Pennsylvania Avenue, NW
  19     Washington, D.C. 20037
                                                                   17        Civil Procedure as if taken pursuant to written
  20     and
                                                                   18        notice.     Objections, except as to the form of the
  21     Ms. Lisa Hansen Marso
         Boyce Law Firm                                            19        question, are reserved until the time of trial.
  22     Sioux Falls, South Dakota
                                for the Defendant                  20        (Fuller Deposition Exs. 1, 2, 4, 5 marked.)
  23
         Also present:    Sala Naambwe
  24                      Mark Cimeley                             21                        DR. WILLIAM C. FULLER,

  25                                                               22        called as a witness, being first duly sworn,

                                                                   23        testified as follows:

                                                                   24        EXAMINATION BY MS. CALEM:

                                                                   25   Q.   Good afternoon, Dr. Fuller.

                                                               2                                                                4

   1                      INDEX OF EXAMINATIONS                     1   A.   Hello.
   2     By Ms. Calem                       Page       3, 66        2   Q.   My name is Andrea Calem and I am an attorney for
   3     By Ms. Pochop                      Page      60
                                                                    3        Smithfield Company Corporation and I represent
   4                            * * * * *
                                                                    4        Smithfield in connection with a lawsuit filed by
   5               INDEX OF DEPOSITION EXHIBITS
                                                                    5        one of your patients, Sala Naambwe.              We are here
   6                                     Marked

   7     Exhibit 1 --                       3                       6        to take your deposition, and I assure you, I will
         Subpoena for Dr. Fuller
   8                                                                7        be as rapid as possible.          I know it's late in the
         Exhibit 2 --                       3
   9     LSS Clinic AMB Report                                      8        day.
         (Pages 22-26)
  10                                                                9               Do you have an understanding of what this
         Exhibit 3 --                     12
  11     LSS Clinic AMB Report
         (Pages 11-16)                                             10        case is about?
  12
         Exhibit 4 --                       3                      11   A.   No.
  13     (Was not used)
                                                                   12   Q.   Okay.     All right.     Can you just state your full
  14     Exhibit 5 --                       3
         LSS Clinic AMB Report
  15     (Pages 5-10)
                                                                   13        name for the record, please.

  16     Exhibit 6 --                     12                       14   A.   William Fuller.
         Curriculum Vitae and
  17     other records produced                                    15   Q.   What's your occupation?
         by Dr. Fuller
  18     (62 pages)                                                16   A.   Physician, psychiatrist.
  19                           * * *
         Original Exhibits 1-6 were returned to Ms. Calem          17   Q.   Where do you work?
  20     via USPS. The original transcript of this
         deposition was emailed to Ms. Calem.                      18   A.   Avera Behavioral Health and U niver sity of So uth
  21                           * * *
                                                                   19        Dakota Sanford School of Medi cine --
  22

  23
                                                                   20   Q.   Okay.

  24                                                               21   A.   -- and I have some consulting loca tions that I go

  25                                                               22        to, but.

                                                                   23   Q.   Did you know that you've been identified as a

                                                                   24        witness in this case?

                                                                   25   A.   I was subpoenaed.

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                                                                           Dr. William  C. Fuller
     Smithfield Foods, Inc.                                                   September 24, 2018
                                                        5                                                              7
 1    Q.   For this --                                             1   Q.   Okay.   How long was the residency?
 2    A.   For this deposition, I assume that.                     2   A.   Three years.
 3    Q.   Did you know that you had been identified as a          3   Q.   And can you briefly describe your employment
 4         trial witness in this case?                             4        after you completed your residency.
 5    A.   No.                                                     5   A.   So at the completion of residency, I came to
 6    Q.   Have you ever been asked to give any expert             6        South Dakota full-time, employee of the State of
 7         opinions in this case?                                  7        South Dakota, and worked with University
 8    A.   No.                                                     8        Physicians which was a practice corporation of
 9    Q.   Have you been asked to formulate any opinions           9        the university -- or the medical school until
10         relating to Miss Naambwe in this case?                 10        2002, which time I became a full-time employee of
11    A.   For purposes of what we're doing here today, no.       11        Avera and contracted with the State of
12    Q.   All right.     Have you been deposed before?           12        South Dakota, so.
13    A.   Yes.                                                   13   Q.   So 2002 you became a full-time employee of Avera?
14    Q.   How many times, roughly?                               14   A.   Correct.
15    A.   I don't know.    I don't know.   Maybe 15.   I don't   15   Q.   Is your practice Avera Medical Group University
16         know.                                                  16        Psychiatry?
17    Q.   And were any of these depositions in connection        17   A.   Yes.
18         with testifying as an expert?                          18   Q.   Is that a separate business entity within Avera?
19    A.   Yeah, a few of them were.                              19   A.   No, I don't believe so.
20    Q.   What courts were those in, do you know, do you         20   Q.   Is it associated with any university?
21         remember?                                              21   A.   University of South Dakota Sanford School of
22    A.   No, I don't really.                                    22        Medicine.
23    Q.   Okay.    And the rest of the times that you were       23   Q.   Okay.   And do you work at Avera full-time?
24         deposed, you were deposed as a treating                24   A.   Well, yeah, I'm a full-time employee, correct,
25         physician?                                             25        but I do some consulting so I'm not actually here
                                                        6                                                              8
 1    A.   Correct.                                                1        probably about a third of the time, I guess,
 2    Q.   All right.     Have you -- I take it you have not       2        yeah.
 3         written any report relating to Miss Naambwe that        3   Q.   All right.     And where is the consulting that you
 4         is -- that you know is going to be used in the          4        do?
 5         litigation?                                             5   A.   At Bethesda Counseling which is in Sioux Falls
 6    A.   Correct.                                                6        and Orange City, Iowa, and Southwestern Mental
 7    Q.   And what states are you licensed to practice            7        Health Center which is in Luverne, Pipestone,
 8         medicine?                                               8        Worthington, so.
 9    A.   South Dakota, Iowa, Minnesota, Nebraska.                9   Q.   Approximately how many hours a week are you at
10    Q.   And you're duly licensed in each of those              10        the medical -- the University Psychiatry Group
11         jurisdictions?                                         11        here?
12    A.   Correct.                                               12   A.   Probably about, I'd say, ten hours a week.
13    Q.   Licenses are current and on file at the                13   Q.   What's your current patient load here?
14         appropriate places?                                    14   A.   Patients I see independently of the residents is
15    A.   Yes.    Yes.                                           15        probably, like, 25 patients is all.   The rest of
16    Q.   Within your practice of psychiatry, do you have a      16        them I see with psychiatry residents.
17         specialty?                                             17   Q.   Do you have a private practice separate and apart
18    A.   No.                                                    18        from any of these other entities, Avera and your
19    Q.   Can you briefly describe your educational              19        consulting jobs?
20         background for me?                                     20   A.   No.
21    A.   Went to undergraduate University of Nebraska           21   Q.   So you see approximately 25 patients independent
22         Medical School, University of Nebraska psychiatry      22        of residents.     Is that for medication management?
23         residency at Nebraska Psychiatric Association          23   A.   That and psychotherapy, yeah.
24         which is affiliated with the University of             24   Q.   So you do both?
25         Nebraska and that would be it.                         25   A.   Yes.
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                                                                           Dr. William  C. Fuller
     Smithfield Foods, Inc.                                                   September 24, 2018
                                                     9                                                                11
 1    Q.   And are you ever asked to see a patient purely          1   Q.   You were asked to bring documents to the
 2         for diagnostic purposes, forensic purposes, for         2        deposition.     Avera has previously produced to us
 3         litigation?                                             3        what I believe to be are the complete records of
 4    A.   Not for a long time.                                    4        her treatment at University Psychiatry.         I'm
 5    Q.   And do you have privileges -- Obviously you have        5        showing that the last date of treatment, the last
 6         privileges at the hospital associated with Avera.       6        report is in April of 2018.      Is there anything
 7    A.   Uh-huh.                                                 7        after that?
 8    Q.   Any other local hospitals?                              8   A.   Yeah, I believe so.
 9    A.   Sanford and Avera in Mitchell and Yankton and           9   Q.   Are those the records that you brought with you
10         couple hospitals in Minnesota.                         10        today pursuant to the subpoena?
11    Q.   These are all -- Okay.     That's a lot of             11   A.   Yeah.
12         hospitals.                                             12   Q.   Okay.
13    A.   There you go.                                          13   A.   They're probably duplicates of mostly, maybe not
14    Q.   So they are not only in South Dakota but the           14        the last note.     9-13-2018.
15         other jurisdictions in which you're licensed?          15              MS. CALEM:     May we go off the record for a
16    A.   Well, I don't have any privileges in any Iowa          16        minute so I have an opportunity to look through
17         hospitals that -- Well, take that back.    I'm not     17        these records.
18         sure about that.                                       18              (An off-the-record discussion was held.)
19    Q.   Okay.                                                  19              MS. CALEM:     Let's go back on the record.
20    A.   I did have affiliation with a hospital down by         20              I would like to take all of the documents
21         Orange City, but I think I maybe dropped off of        21        that Dr. Fuller has produced here today and as a
22         that one.                                              22        group we'll make them Exhibit 6, including the
23    Q.   Do you have any questions about the deposition         23        CV.
24         process?     You've been deposed many times before,    24              MS. POCHOP:     Can I get a copy?
25         but is there anything about the process or the         25              MS. MARSO:     Right now or with the
                                                     10                                                               12
 1         case that you want to ask me before we go               1        transcript?
 2         further?                                                2              MARK CIMELEY:     I can get you a copy.
 3    A.   Not really, no.                                         3              MS. POCHOP:     Can I have a copy during this?
 4    Q.   You're here today because you were served with a        4          (Fuller Deposition Exhibit 6 marked.)
 5         subpoena, correct?                                      5              MS. CALEM:     So, yeah, we're going to need a
 6    A.   Correct.                                                6        copy of this file.      I'm going to put that in
 7    Q.   I'm handing you what's been marked as Exhibit 1         7        front of you but just keep it all together.
 8         to your deposition.     Can you take a look at that     8              MS. POCHOP:     Can we send it with him to get
 9         and tell me if that is the subpoena with which          9        a copy while we're doing this?
10         you were served?                                       10              MS. CALEM:     Would you mind?
11    A.   I believe so, yep.                                     11              MR. CIMELEY:     No.
12    Q.   And is -- There's a page at the end, I believe,        12        BY MS. CALEM:
13         which has your signature on it acknowledging           13   Q.   There are several -- I have reports that were
14         receipt of the subpoena?                               14        produced showing several visits by Miss Naambwe
15    A.   Correct.                                               15        to your practice and you have produced one more.
16    Q.   And that's your signature?                             16        So I'm going to show you what I believe to be the
17    A.   It is.                                                 17        four reports that I have -- And we don't have the
18    Q.   All right.     As you sit here today, do you have an   18        page from that?
19         independent recollection of treating Sala              19              MS. MARSO:     We're waiting for a couple
20         Naambwe?                                               20        pages.
21    A.   Probably not, that's not assisted by, you know,        21              MS. CALEM:     We're waiting for it, I'm sorry,
22         reading the records.                                   22        Doctor.    I'll just use my copy so that would be
23    Q.   Before you came here today, did you read               23        Exhibit 3.
24         Miss Naambwe's records?                                24         (Fuller Deposition Exhibit 3 marked.)
25    A.   Yes.                                                   25   Q.   All right.    So these four reports, if you could
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                                                                           Dr. William  C. Fuller
     Smithfield Foods, Inc.                                                   September 24, 2018
                                                      13                                                                15
 1         take a look at them.        Those are the reports I       1        with the conclusions?
 2         have.     I just want to run through them briefly.        2   A.   Correct.
 3         The first one that I have, it has the Bates               3   Q.   All right.     And the second, the next exhibit
 4         numbers in the bottom right-hand corner of the            4        there, Miss Naambwe saw Dr. Gaines and
 5         pages 22 to 26.     Do you see down at the bottom         5        Dr. Bhatara I think that should have the numbers
 6         right-hand corner?     Is that numbered 22 through        6        19 through 21 at the bottom?
 7         26?                                                       7   A.   19 through 21, okay.
 8    A.   Yes.                                                      8   Q.   Do you have anything with 19 through 21 at the
 9    Q.   Okay.     This appears to be a visit that                 9        bottom?
10         Miss Naambwe had to this practice.        Can you tell   10   A.   I don't think so, no.   I don't think I have one
11         meet the date of service, the date of the visit?         11        with Dr. Gaines, basically.     These are all
12    A.   5-9-2018.                                                12        Dr. Berney's, these three.
13    Q.   And she saw --                                           13   Q.   Okay.     These are duplicates.
14    A.   Correction.    5-9-2017.                                 14               Let's look at the one.     Can you tell me the
15    Q.   Okay.     And at that time she saw Dr. Makar -- is       15        date of service on that?
16         that how you pronounce it?                               16   A.   That is 1-19-2018.
17    A.   Yes.                                                     17   Q.   And Dr. Berney and Dr. Bharata saw the patient?
18    Q.   -- and yourself.     Dr. Makar was a resident?           18   A.   Correct.
19    A.   Correct.                                                 19   Q.   And you had no involvement in that visit; is that
20    Q.   And what is the usual procedure for a resident           20        correct?
21         seeing a patient and being supervised by a               21   A.   Correct.
22         physician such as yourself?                              22   Q.   And I'm handing you this exhibit.       Can you tell
23    A.   So they see the patient and they formulate their         23        me what date of service that report reflects?
24         opinions and then they come and talk to the              24   A.   4-24-2018.
25         supervisor and present the case and their ideas          25   Q.   Okay.     And did you see the patient at that time
                                                      14                                                                16
 1         and thoughts about that, and then I go back with          1        with Dr. Berney?
 2         them and talk with them and the patient and so --         2   A.   I did.
 3    Q.   All right.     And how --                                 3   Q.   Would it have been Dr. Berney who wrote up this
 4    A.   -- and I either agree with them or don't agree            4        report basically?
 5         with them, but.                                           5   A.   Yes.
 6    Q.   Okay.     So in the exhibit before you, there's a         6   Q.   Okay.     Were your notes made just in the standard
 7         note, supervisory note on the second page?                7        ordinary course of your medical practice, your
 8    A.   Yeah, correct.                                            8        supervisory notes?
 9    Q.   And it says that you saw is Miss Naambwe with             9   A.   Yes.
10         Dr. Makar for supervisory purposes and you agree         10   Q.   And is it the practice for all physicians in this
11         with her findings and conclusions?                       11        group to write up their reports of their
12    A.   Correct.                                                 12        encounters with their patients?
13    Q.   And how long, approximately, do you spend with           13   A.   Yes.
14         the resident and the patient together before             14   Q.   Typically how long after the appointment or
15         writing this supervisory note?                           15        session are the notes written up?
16    A.   Meaning total with talking to the resident and           16   A.   Mine are usually written on the same day as the
17         then --                                                  17        service.
18    Q.   Talking -- Well, let's say with the patient.             18   Q.   Do you know about the residents?
19         What is the total amount of time?                        19   A.   Varies.    You know, they can -- most of the time
20    A.   That would be variable, you know, from probably          20        it would be the date of service but sometimes it
21         five minutes to 15 minutes, something like that.         21        may be four or five days later, week later, I
22    Q.   Okay.     So it's the resident that really works all     22        mean.
23         this up?                                                 23   Q.   Is there a rule about that?
24    A.   Correct, yes.                                            24   A.   Not an exact rule, but, I mean, you can get in
25    Q.   And you look over it and make sure that you agree        25        trouble if you're late with all your reports.
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                                                                           Dr. William  C. Fuller
     Smithfield Foods, Inc.                                                   September 24, 2018
                                                       17                                                                  19
 1    Q.   Okay.     And how are the reports stored?        Are they    1   Q.   All right.     Well, we're really here today because
 2         stored electronically?                                       2        I want to ask about the diagnoses given to
 3    A.   Yes.                                                         3        Miss Naambwe by this practice --
 4    Q.   Are they in hard copy anywhere?                              4   A.   Uh-huh.
 5    A.   No.    Unless you copy.                                      5   Q.   -- including yourself and Dr. Makar and
 6    Q.   Unless you print it out?                                     6        Dr. Berney.     Would it be accurate that the
 7    A.   Yeah, right.                                                 7        resident would come to a conclusion about a
 8    Q.   Do you have access to reports of other health                8        diagnosis and a differential diagnosis and run
 9         care providers within the Avera system about                 9        that by you?
10         Miss Naambwe?                                               10   A.   Correct.
11    A.   Yes.                                                        11   Q.   All right.     In this case, we have the social
12    Q.   And, likewise, would, for instance, Miss Olson              12        history on the first report says:      The patient
13         who is --                                                   13        came from the Congo in 2004 and has a history of
14    A.   Uh-huh.                                                     14        physical abuse at a refugee camp and this is why
15    Q.   -- a physician's assistant who saw Miss Naambwe,            15        she's sensitive to people touching her skin.         She
16         would she have access to all of the reports about           16        endorses nightmares and flashbacks.
17         Miss Naambwe that are in the Avera system?                  17            Is this social history significant to the
18    A.   Yes.                                                        18        diagnoses that are in here?
19    Q.   Do you recall if you reviewed any of                        19   A.   I believe so.
20         Miss Naambwe's records before meeting with her              20   Q.   In what way?
21         for the first time?                                         21   A.   Well, I mean, because of past traumatic events
22    A.   No, I don't remember.     I don't recall.                   22        are usually not completely forgotten.    They're
23    Q.   Do you know how it was that Miss Naambwe came to            23        usually -- and they usually influence people's
24         the University Psychiatry Group?                            24        behavior and symptoms, you know, for a long, long
25    A.   I believe she was referred from the primary care            25        period of time.
                                                       18                                                                  20
 1         people to us for assistance with some symptoms               1   Q.   Would that -- Well, let's just say, there's two
 2         she was having, you know.                                    2        diagnoses listed in the assessment section here.
 3    Q.   Do you recall speaking to Kalee Olson about                  3        One is major depressive disorder recurrent severe
 4         Miss Naambwe?                                                4        with psychotic features and the other is PTSD.
 5    A.   No.                                                          5   A.   Correct.
 6    Q.   All right.     So I want to take a look at the first         6   Q.   The history of what happened in the Congo, is it
 7         visit where you and Dr. Makar saw Miss Naambwe.              7        relevant to both of those diagnoses?
 8         It appears that a history of the patient was                 8   A.   It could be for certain -- for the posttraumatic
 9         taken.     Is that standard practice?                        9        stress one, although most people who have that
10    A.   Yes, uh-huh.                                                10        have depression, so.
11    Q.   And it would have been Dr. Makar who took that              11   Q.   They're comorbid, usually?
12         history?                                                    12   A.   Yeah, usually.
13    A.   Correct.                                                    13   Q.   All right.     Can you tell me what information in
14    Q.   Okay.     Do you know if the patient was given any          14        this report supports the diagnosis of PTSD?
15         sort of physical exam?                                      15   A.   Just memories, flashbacks, hyperarousal, kind of
16    A.   No, not that I'm aware of, although they do do --           16        sort of a vigilance, and then reactivity to
17         usually do a portion of a neurological exam, you            17        environmental stimulus that reminds the patient
18         know, at each visit.                                        18        of the past, basically.
19    Q.   What portion is that?                                       19   Q.   When you say "hyperarousal", what do you mean?
20    A.   Well, musculoskeletal exam, examination of the              20   A.   Easily startled, anxious, you know.
21         cranial nerves with specific emphasis on a bunch            21   Q.   Easily irritated?
22         of neurological symptoms that are common to                 22   A.   Can be.    Depends on the situation.   Sometimes
23         psychiatric medication, you know, drug-induced              23        it's more just fears of, you know....
24         symptoms, so we're looking specifically for those           24   Q.   And when you say "reactivity to environmental
25         things.                                                     25        stimulus", what are you referring to?
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                                                                           Dr. William  C. Fuller
     Smithfield Foods, Inc.                                                   September 24, 2018
                                                     21                                                                23
 1    A.   Something that reminds them in some fashion of            1        that, that's getting copied, so we'll go back to
 2         what happened to them before.                             2        that.
 3    Q.   Okay.                                                     3            What is major depressive disorder?
 4    A.   They overreact to those kind of things.                   4   A.   It's just -- it's depression that's generally has
 5    Q.   So the history of the illness set forth in this           5        defined onset, may or may not have a clear stress
 6         report says the patient says she saw people               6        precipitating the depression but the symptoms are
 7         following her that were not there.      She says she      7        severe and present most of the time for a
 8         saw herself having a gun and shooting them.        The    8        definite --
 9         patient has been afraid in the parking lot.               9   Q.   And you -- I'm sorry, go ahead.
10         Whenever she sees people, she's paranoid that            10   A.   It's just a certain length of time they're
11         they might figure out her address.      Thus, she is     11        supposed to be present, yeah.
12         switching streets on her way home so that nobody         12   Q.   All right.    And the diagnosis here is major
13         can find out what her address is.      Sometimes         13        depressive disorder recurrent severe with
14         she's afraid in her room because people might            14        psychotic features.     And what does "recurrent"
15         sneak through the windows.      She says she's having    15        mean?
16         a lot of issues with male coworkers.      She says       16   A.   It means there's a prior episode of depression.
17         she is afraid of people touching her skin and she        17   Q.   And what are the criteria for a major depressive
18         gets paranoid that the people at work have a             18        disorder in terms of how many episodes and the
19         knife or a gun.     And she has suicidal ideations.      19        length of the episodes of depression?
20             Can you tell me how these symptoms support           20   A.   For it to be called recurrent, you have to have
21         the diagnosis of major depressive disorder and           21        two episodes of it that were judged to be
22         PTSD?                                                    22        major -- a major depressive episode, because you
23    A.   Well, I mean, those are like your paranoid               23        can have a major depressive episode that isn't
24         symptoms which can be and often are a part of            24        recurrent as a single episode.
25         posttraumatic stress symptoms.    And you can            25   Q.   So when you say -- Does recurrent, then, imply
                                                     22                                                                24
 1         get -- also you can get psychotic symptoms in             1        that there are certain periods of time when the
 2         association with depression.    So you might get a        2        patient is not suffering from any sort of
 3         difference of opinion as to what the cause of             3        depression?
 4         them is.                                                  4   A.   Yeah.    There would be intervals where there
 5             I believe one of the residents gave a                 5        wouldn't be depressive symptoms.
 6         separate diagnosis for the psychotic symptoms as          6   Q.   And --
 7         unspecified psychosis later on, you know, so              7   A.   Although you can have comorbid things, so you
 8         you -- that's more of an uncertainty diagnosis.           8        could have posttraumatic stress symptoms that are
 9         If you weren't sure, if you thought it was pretty         9        continuous and episodes of depression on top of
10         directly linked into posttraumatic stress, then          10        that.
11         you would give it that diagnosis.                        11   Q.   It's hard to tease them apart, then, isn't it?
12    Q.   Well, there's several differential diagnoses --          12   A.   Yes, very much so.
13    A.   Yeah.                                                    13   Q.   When you say psychotic features, what do you
14    Q.   -- including mixed personality disorder, panic           14        mean?
15         disorder, paranoid personality disorder,                 15   A.   That means having delusions or false beliefs or
16         delusional disorder.      Do you know if, in fact,       16        hallucinations or bizarre or unusual behavior, I
17         Miss Naambwe was actually diagnosed with any of          17        guess, could be psychotic features.
18         these?                                                   18   Q.   All right.    And what in this report substantiated
19    A.   I don't believe so, no.    You know, a lot of            19        or substantiates the diagnosis of major
20         delusional disorder, no, most of those not               20        depressive disorder with psychotic features?
21         anyway.                                                  21   A.   Just symptoms of major depression and
22    Q.   I'm sorry?                                               22        accompanying, you know, delusional and
23    A.   I say most of those no.                                  23        hallucinatory symptoms.
24    Q.   Okay.     I believe there was a new diagnosis in the     24   Q.   So a patient comes in with delusional and
25         last report that you produced but we don't have          25        hallucinatory symptoms.     How as a physician do
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 1         you determine what is accurate about what the          1   A.   Dr. Olson primarily, you know, but there was
 2         patient is telling you versus what is not              2        Dr. Jensen.
 3         accurate in those circumstances?                       3   Q.   Dr. Jensen?
 4    A.   You mean -- well, usually try to get as much           4   A.   Yeah.   I believe that's a therapist from family
 5         history from collateral resources as possible.         5        practice.
 6         Sometimes they're the records of other                 6   Q.   And what was the date of the report that
 7         physicians, but mostly it's family members or          7        Dr. Jensen wrote that you might have reviewed?
 8         significant others that we get the history from.       8   A.   3-20-17.
 9         Could be, you know, jail records or whatever, you      9   Q.   3-20-17.     Did you review any reports of emergency
10         know.                                                 10        room visits or notes?
11    Q.   With respect to Miss Naambwe, did you speak to        11   A.   No, I don't think so.
12         anyone from her family about her symptoms?            12   Q.   All right.     There's -- on the first page of the
13    A.   I believe, yeah, on several occasions there was       13        document that describes the first visit, there's
14         another person present, but.                          14        a reference on the bottom LSS Clinic AMB report,
15    Q.   And who was that?                                     15        bottom right.     Do you see that?
16    A.   Well, I don't remember the name of the person         16   A.   On the -- the visit of Dr. who and what date?
17         exactly, but.                                         17   Q.   If you just look at the bottom right and there's
18    Q.   It was a relative?                                    18        a reference to what looks like another report,
19    A.   Yeah.                                                 19        clinic -- or is this your report?     I didn't know
20    Q.   And did you -- did you yourself speak to this         20        if that was something different or not.
21         relative?                                             21   A.   You mean of this talking about a report from LSS,
22    A.   Well, briefly.    Mostly the person was in the room   22        that's Lutheran Social Services --
23         when they were describing what the symptoms were      23   Q.   Yeah.
24         and the case was, and there was some occasional       24   A.   -- counseling agency.
25         references for confirming information but there's     25   Q.   It is talking about another report?
                                                    26                                                              28
 1         language differences so a lot of it was probably       1   A.   Well, if it says LSS, that's what that would be,
 2         what was being -- trying to figure out what was        2        I believe.
 3         being said as much as....                              3   Q.   Okay.     Do you remember what information you
 4    Q.   I see.    Was this person Miss Naambwe's son?          4        received from that report?
 5    A.   You know, I don't remember, to tell you the            5   A.   No.
 6         truth.                                                 6   Q.   All right.     So psychotic feature denotes a break
 7    Q.   That's all right.                                      7        from reality; is that correct?
 8    A.   And --                                                 8   A.   Correct.
 9    Q.   Go ahead.                                              9   Q.   And typically how long do they last in a
10    A.   -- I would have to look at the records to see who     10        situation like this?
11         it is, yeah.                                          11   A.   Well, hard to say how long it would last, you
12    Q.   Okay.    You -- you did review these records before   12        know.
13         you came here today?                                  13   Q.   Did you -- do you have a sense for how long
14    A.   To some extent.    Not extensively, though.           14        Miss Naambwe's psychotic feature would last?
15    Q.   Okay.    Did you or anyone in the practice speak to   15   A.   No, not really.    It's -- because you can have the
16         anyone at Miss Naambwe's place of employment?         16        onset of more serious illness, you know, such as
17    A.   No.                                                   17        schizophrenia can present for the first time.
18    Q.   Did you review any files from her employment?         18        You know, sometimes it presents right and then it
19    A.   No.                                                   19        can continue indefinitely.
20    Q.   Did you review files from other medical               20   Q.   Yeah.     I did notice that on the last report which
21         providers?                                            21        I'll have -- which is part of the group of papers
22    A.   Yes.                                                  22        that you produced, there's a differential
23    Q.   Which ones?                                           23        diagnosis of schizophrenia.
24    A.   The family practice people.                           24   A.   Uh-huh.
25    Q.   And that's --                                         25   Q.   Do you know if that diagnosis has been confirmed?
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                                                                           Dr. William  C. Fuller
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 1    A.   I don't believe so.                                    1   A.   No.
 2    Q.   So with Miss Naambwe, you had her son with her at      2   Q.   Would Miss -- the fact that Miss Naambwe has PTSD
 3         one visit so you could corroborate some of the         3        stemming from her experience in the Congo, might
 4         symptoms she's describing, correct?                    4        that influence her perception of events in the
 5    A.   Right.                                                 5        workplace?
 6    Q.   But outside of that, you don't have any                6   A.   Yes.
 7         information about her interactions with others;        7   Q.   Might that cause her to misperceive --
 8         is that -- is that accurate?                           8   A.   Yes.
 9    A.   Other than what she's reported to other people.        9   Q.   -- actions?
10    Q.   Okay.    So when Miss Naambwe comes in and says       10   A.   Uh-huh.
11         something like she's being repeatedly sexually        11   Q.   Miss Naambwe's had several clashes with workers,
12         assaulted at work and her supervisor refuses to       12        with coworkers and supervisors and that's led to
13         do anything about it, is that something that you      13        what -- to the lawsuit today which is a
14         take at face value?     Do you believe that           14        discrimination lawsuit, race discrimination and
15         statement?                                            15        retaliation.     The diagnoses that she has been
16    A.   We try to get as much information about what          16        given, would they -- would these conditions tend
17         actually happened as we can, you know, rather         17        to make workplace relationships a little more
18         than take an abstract statement like that, so.        18        difficult?
19    Q.   Do you remember what information Miss Naambwe         19   A.   Well, they could, yes.
20         gave you about being sexually assaulted at work?      20   Q.   In what way?
21    A.   I was -- I can remember actually trying to figure     21   A.   Well, just that she could be on guard, you know,
22         that out and it was difficult to do so at the         22        hypervigilant, worried about being mistreated and
23         time.                                                 23        overreacting to perceived mistreatment, you know.
24    Q.   Why was it difficult, language barrier?               24   Q.   So, for instance, if someone brushed by her and
25    A.   Partially, yeah.    And --                            25        she reported that as a sexual assault, would that
                                                     30                                                             32
 1    Q.   There is a reference in these reports to Miss          1        be consistent with PTSD syndrome?
 2         Naambwe being a poor historian.       What do you      2   A.   Could be, yes.
 3         understand that to mean?                               3   Q.   What -- Have you formed a belief about Miss
 4    A.   That means you can't understand the history that       4        Naambwe's reports that coworkers are trying to
 5         she's giving you.                                      5        kill her?
 6    Q.   And why, because it's confused?       Why might you    6   A.   I didn't assume that that was true at the time,
 7         not understand it?                                     7        no.
 8    A.   Well, could be language barrier.     Could be the      8   Q.   That's part of her psychotic symptoms?
 9         way a person recalls and describes things in the       9   A.   Yeah.   Her paranoid thinking, I would say, yeah.
10         past, you know, so.                                   10   Q.   Are you expressing any opinion with regard to
11    Q.   So you try to get as much information as possible     11        Miss Naambwe as to the cause of her PTSD and
12         about an incident the patient describes.       To     12        major depressive disorder?
13         really, you know, determine whether it was true       13   A.   Well, no.    I mean, I don't have enough detail
14         or false, you would have to consult other people,     14        to -- about history in the Congo to know for
15         for instance, the people she talks about in the       15        sure.
16         workplace.    You did not do that?                    16   Q.   So you say you don't have enough detail to know
17    A.   No.                                                   17        for sure the cause of her illnesses --
18    Q.   Throughout these reports, there seems to be a         18   A.   Yeah.
19         theme of Miss Naambwe reporting improper sexual       19   Q.   -- is that accurate?
20         activity at work, somebody rubbing up against         20   A.   Yes.
21         her, somebody trying to touch her vaginal area,       21   Q.   Okay.     So you're not offering an opinion to --
22         somebody elbowing her.       Does this -- did you     22        that says with a reasonable degree of medical
23         corroborate any of those statements?                  23        certainty that there was a particular cause for
24    A.   From her -- like, her work place, you mean?           24        any of these illnesses.     Is that accurate?
25    Q.   Yeah.                                                 25   A.   I don't know.    I think more accurate would be I
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 1         don't have enough detail about events that                 1        either way, she seemed to respond real positively
 2         happened to her to know how much of it is                  2        when he was out of the picture.
 3         directly related to traumatic incidents and how            3   Q.   She reported that he had been fired for sexual
 4         much is kind of an elaboration or kind of a                4        assault.     Do you know if that was true or not?
 5         paranoid thinking process or hallucinatory                 5   A.   I do not.    I would think probably not but maybe,
 6         process so where the line changes there.                   6        you know.    I mean, I didn't think that was
 7    Q.   Okay.                                                      7        probably true, but.
 8    A.   I don't think I have enough information to say             8   Q.   Okay.     And the report that she was doing better
 9         for sure on that, although it does appear that a           9        came roughly in 20 -- Well, let me get the date
10         lot of things that she was thinking were not              10        right.     Well, strike that.    After she reported
11         possible, so it does seem like those were                 11        feeling better because this individual was gone,
12         psychotic symptoms, but exactly what did happen           12        there were additional relapses into --
13         and didn't happen is always really hard to                13   A.   Continued symptoms.
14         figure, you know.                                         14   Q.   Continue symptoms?
15    Q.   So -- so but you're not -- just to confirm,               15   A.   Yeah.
16         you're not going to testify in this case about            16   Q.   All right.     And have those continued as far as
17         any opinion about the cause of her illnesses.        Is   17        you know through the recent consultation this
18         that accurate?                                            18        practice has had with her?
19    A.   There's -- there's really only one thing in these         19   A.   Yes.
20         records that makes you wonder and that's several          20   Q.   What do you recall in these reports about
21         references why these other clinicians that were           21        Miss Naambwe's compliance with her medication
22         seeing her said that someone was transferred or           22        regime?
23         left the immediate workplace that she was in and          23   A.   I think she's pretty compliant, other than one of
24         that her symptoms dramatically improved when that         24        her medications was very expensive so she didn't
25         happened.    Several clinicians said that so it           25        want to take it.      The Lurasidone or Latuda,
                                                    34                                                                    36
 1         leads me to believe that somebody in her                   1        they're both antipsychotic --
 2         workplace was doing something, either that she             2               COURT REPORTER:    I'm sorry, say those again.
 3         was overreacting to it or else actually did                3               THE WITNESS:    Lurasidone,
 4         something that she was reacting like most people           4        L-u-r-a-z-i-d-o-n-e [sic].
 5         would and that that person leaving really seemed           5               COURT REPORTER:    Thank you.
 6         to change her symptoms.   So I believe there was           6        BY MS. CALEM:
 7         either perceived or a real thing with another              7   Q.   Well, there are numerous references in these
 8         person.                                                    8        reports to noncompliance with medication.         For
 9    Q.   But you don't know if it was a perceived thing or          9        instance, in the last -- can you look at the
10         a real thing?                                             10        April 2018 visit?       Do you have that document in
11    A.   No, I don't.    I mean, she said a bunch of stuff         11        front of you?
12         about it, you know, like she went to her                  12   A.   April -- yep, I do.
13         superiors and they wouldn't listen to her and             13   Q.   April 2018.
14         this person was a friend of the supervisor and a          14   A.   Right.
15         bunch of stuff like that that would make you              15   Q.   Okay.     And there's a reference in there to her
16         really wonder but, no, I don't have enough                16        using Seroquel but only every few days.
17         information to know for sure.                             17   A.   Uh-huh.
18    Q.   All right.     And, in fact, her paranoid symptoms        18   Q.   What symptoms does the Seroquel treat?
19         could have preceded these events with the                 19   A.   It's an antipsychotic, but it also has a lot of
20         coworker, correct?                                        20        antianxiety symptoms frequently used for people
21    A.   Sure.                                                     21        that are having trouble sleeping.
22    Q.   And had influenced her perception of what they            22   Q.   Okay.     On the second page of that report,
23         did?                                                      23        Miss Naambwe says when she is taking the
24    A.   Yeah, could have been like he didn't do anything,         24        Seroquel, she's not angry or yelling and it helps
25         she just imagined he was doing things.   But,             25        with her concentration, she does better at work.
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 1    A.   Uh-huh.                                                 1   Q.   His diagnosis was psychotic disorder unspecified.
 2    Q.   And, however, it does say she's only taking it          2        Do you believe that the patient's symptoms
 3         every third day and then she starts having              3        support that diagnosis?
 4         problems.                                               4   A.   Well, as I say before, that's a non -- a sort of
 5    A.   (Indicating).                                           5        like a transitional diagnosis usually or else the
 6    Q.   Would this failure to comply consistently with          6        symptoms are unusual, they don't fit exactly any
 7         the Seroquel prescription, could that lead to           7        of the standard psychotic diagnosis.    So, no, it
 8         greater incidents of workplace conflict?                8        doesn't surprise me that someone would give her
 9    A.   Well, yeah, she could have more symptoms, yeah,         9        that diagnosis.
10         for that.                                              10   Q.   All right.    On the first page of the -- the
11    Q.   And if she was noncompliant in general with            11        September report, it says patient was last seen
12         medication designed to treat her mental                12        by Dr. Berney on June 22, 2018.    At that time
13         illnesses, could that have an adverse effect on        13        Latuda was discontinued due to cost and she was
14         her interactions with people in the workplace?         14        started on Risperdal one milligram twice daily.
15    A.   It could.                                              15        She was continued on Zoloft 100 milligrams and
16    Q.   Do you have any -- when you say that you believe       16        Prazosin two milligrams.    Can you tell me what
17         she was mostly compliant, on what do you base          17        Risperdal is designed to treat?
18         that?                                                  18   A.   An antipsychotic medication.
19    A.   Well, I mean, I think she was -- had tried to          19   Q.   And Zoloft?
20         take all of the medications that they were             20   A.   Antidepressant.
21         prescribed.    It's not terrifically unusual for       21   Q.   And Prazosin?
22         psychotic patients to not take their medications       22   A.   It's for -- generally for nightmares.
23         all the time, especially when they're first            23   Q.   All right.    Patient indicates that she's been
24         diagnosed.    It's actually true of all people with    24        taking the Risperdal once in the evening but does
25         all medications but, so.                               25        not take the medications daily.    Would that
                                                       38                                                            40
 1    Q.   Do you know, are you familiar with the fact that        1        indicate noncompliance?
 2         Miss Naambwe has high blood pressure?                   2   A.   Well, yeah, sure.
 3    A.   Yes.                                                    3   Q.   At this point in time in September of 2018,
 4    Q.   And if she is not compliant with her blood              4        Miss Naambwe is still reporting paranoid
 5         pressure medication, might that have an effect on       5        symptoms, someone will kill her, someone is
 6         her mental and emotional well-being?                    6        following her in a car, someone will bomb her
 7    A.   Might.    Headaches mainly is, I think --               7        house, and the food in the cafeteria is being
 8    Q.   Headache?                                               8        poisoned, her food.    Are you familiar with that
 9    A.   -- was the symptoms that she had.                       9        statement?
10    Q.   Okay.     So if we look at -- I'm trying to find the   10   A.   No, I didn't recall that.
11         date of this report.     Can you tell me the date of   11   Q.   Would a belief that the food in the cafeteria,
12         service on this, of this visit?                        12        her food in the cafeteria is being poisoned,
13    A.   That was September 13th.                               13        would that be a symptom of a psychotic feature of
14    Q.   Of what year?                                          14        her depression?
15    A.   '18.                                                   15   A.   Well, psychotic features of something, right.
16    Q.   2018, all right.                                       16   Q.   If Miss Naambwe has reported at times that she
17                So that's in the package that you -- that       17        loses track of time, kind of blanks out for maybe
18         you received, Stephanie.                               18        a minute or two, doesn't know where she is, is
19                This is a report that we had not had            19        this a symptom of any of the illnesses with which
20         previously.     Dr. Nuss, is that how you pronounce    20        she has been diagnosed?
21         it --                                                  21   A.   Predominantly posttraumatic stress disorder.
22    A.   (Indicating).                                          22   Q.   And how does that --
23    Q.   -- was the attending?      And his -- is Dr. Nuss a    23   A.   I mean, you can have --
24         man or a woman?                                        24   Q.   -- that --
25    A.   A man.                                                 25   A.   -- similar things with depression, yeah.
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 1    Q.   Okay.   And how do you define posttraumatic stress      1        understanding that perhaps some behaviors you
 2         disorder?                                               2        have are subtly influencing someone else and that
 3    A.   It's a syndrome that follows an identifiable            3        reaction to you may be what you're feeling, you
 4         stress that would cause anybody to have symptoms,       4        know, as well as, like, a high level of insight.
 5         basically, and the symptoms persist after the           5        So there's -- there's a lot of different levels
 6         event and they're, you know, flashbacks,                6        of insight.    So generally with somebody who's
 7         nightmares, hypervigilance, reactivity to               7        psychotic, you're talking about do they know that
 8         stimulus, general withdrawal, emotional lability.       8        they have psychotic symptoms that they may
 9    Q.   Can the symptoms sometimes emerge years after the       9        benefit from, you know, that they should take
10         incident happened?                                     10        their medications to help those symptoms.     That's
11    A.   Sometimes, yeah.                                       11        usually the main thing, but there are people who
12    Q.   Ms. Naambwe's testimony in her deposition was          12        know something's wrong, they just don't exactly
13         that she -- her symptoms were entirely due to          13        believe the doctor's got it right, you know.
14         this mistreatment at work, had nothing to do with      14   Q.   So there's sort of a continuum with insight?
15         her experiences in the Congo.     What do you think    15   A.   Yes, right.
16         about that statement?                                  16   Q.   I mean, some people might fully understand that
17    A.   Well, I don't know.   You know, I mean, obviously      17        they have a mental illness and there's some
18         there's -- there's some things happening that are      18        things that aren't there and other people would
19         not only related to the workplace environment,         19        be in complete denial, those would be the two
20         you know, so.                                          20        ends of the spectrum?
21    Q.   So you would not believe that that was an              21   A.   Yeah.   Yes.
22         accurate statement, would you?                         22   Q.   And if -- when this report says Miss Naambwe's
23    A.   Well, I need a lot more information.   It's            23        insight was limited, what do you think it means?
24         possible that nothing happened to her in the           24   A.   I think it means that she doesn't understand some
25         Congo, you know, and I just don't know it, right,      25        of the things that I don't understand, like what
                                                     42                                                              44
 1         so.                                                     1        is causing her symptoms, where they're coming
 2    Q.   Have you -- Well, in your views, could                  2        from, what's real, what isn't real, you know,
 3         Miss Naambwe benefit from psychotherapy?                3        whether or not people might actually be following
 4    A.   Probably, if she had someone that could speak her       4        her or not would be the kind of area I would say
 5         language.                                               5        where her insight is limited or, like, this
 6    Q.   Have -- has she ever expressed an interest in it,       6        person at work was following her around outside
 7         to your knowledge?                                      7        of the workplace or, you know, that kind of
 8    A.   No, not to my knowledge.                                8        insight.
 9    Q.   Have you suggested it to her?                           9   Q.   I just want to go back to this first report.       In
10    A.   No.                                                    10        one of these reports, Miss Naambwe denies being
11    Q.   On these reports, there's a section that talks         11        depressed despite her diagnosis.     Does that
12         about insight.     What does the word "insight" mean   12        reflect a lack of insight about her condition?
13         within the context of a report like that?              13   A.   I would think so, yes.
14    A.   Understanding of your illness, basically.              14   Q.   And if she -- in one of the reports, she reported
15    Q.   There are several references to Miss Naambwe           15        that she believed people were poisoning her food
16         having limited insight.     Would you agree with       16        in the cafeteria and said to the physician who
17         that?                                                  17        she was speaking to, well, you don't know for
18    A.   Well, I don't know for sure on that.                   18        sure that's not true, does that reflect lack of
19    Q.   Is there a test or an -- a test to measure             19        insight about her condition?
20         insight?                                               20   A.   I would say so, yes.
21    A.   Mainly just talking to the person or interviewing      21            MS. CALEM:     Let's go off the record for a
22         them, almost always in cases like this.    So          22        minute.
23         there's different kinds of insight, right,             23          (A recess was taken at this time.)
24         knowing something's wrong with you, knowing that       24            MS. CALEM:     Back on the record.
25         the doctor might help you, you know,                   25            Are you able to render an opinion about
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 1         whether or not Miss Naambwe was being truthful in         1        traumatic event?
 2         reporting her symptoms, for instance,                     2   A.   Yeah, sure, but we don't know exactly what
 3         sleeplessness, crying, all of that?                       3        happened.    And so if it's a reliving or
 4    A.   No.   I don't have any -- any reason to think she         4        recreation of a past experience and you have
 5         wasn't being truthful.                                    5        someone with psychotic symptoms, then it's kind
 6    Q.   Well, as a physician, how do you deal with that,          6        of hard to tell what's from posttraumatic stress
 7         then?     You just sort of take the patients at           7        and what's from maybe something else.    So it's
 8         their word?                                               8        unclear in her case and it would be --
 9    A.   You generally do.                                         9   Q.   So it's the -- you're saying that it's not clear
10    Q.   You mentioned that Miss Naambwe's son was at some        10        what disorder her symptoms result from in all
11         of these appointments.     Do you know if he             11        cases?
12         corroborated any of the symptoms?                        12   A.   Yeah.    Well, where -- where the line is drawn, I
13    A.   Yeah, to some degree, yeah.                              13        guess, between.
14    Q.   What symptoms did he corroborate?                        14   Q.   Okay.    Does Miss Naambwe show signs of having
15    A.   I don't know for sure.   I just know he was there.       15        some sort of personality disorder?      It was in the
16    Q.   Okay.     But you don't know for certain that he         16        differential diagnosis.
17         corroborated them?                                       17   A.   Yeah.    I don't think so, no.
18    A.   No.   I wouldn't be able to testify one way or the       18   Q.   And why -- why, then, was it in the differential
19         other on that.                                           19        diagnosis?
20    Q.   So you're sort of making at an assumption that,          20   A.   Because it could produce these symptoms.
21         yes, he might have corroborated them but you             21   Q.   Okay.    Would someone with a personality disorder
22         don't know for certain, right?                           22        tend to be untruthful in reporting their
23    A.   Right.                                                   23        symptoms?
24    Q.   Okay.     And do you believe that given the history,     24   A.   Could be, depending upon the personality
25         the resident had enough information to diagnose          25        disorder.
                                                   46                                                                     48
 1         Miss Naambwe with PTSD and major depressive               1   Q.   Well, what about mixed personality disorder?
 2         disorder?                                                 2   A.   About which?
 3    A.   I don't know for sure actually, but -- but I              3   Q.   Wasn't the differential mixed personality
 4         would think so, yes.                                      4        disorder?
 5    Q.   Well, what are the criteria for PTSD?     I mean          5   A.   Oh, mixed is....
 6         there's a DSM definition for it; is there not?            6   Q.   What does that mean?
 7    A.   Sure.                                                     7   A.   That means the symptoms were for more than one
 8    Q.   What does the criteria usually, like, list?        Two    8        personality disorder.
 9         out of these five, three out of these?                    9   Q.   Can you define what a personality disorder is?
10    A.   Yeah.                                                    10   A.   Sort of a lifelong pattern of behavior that's
11    Q.   Do you know what the criteria are for PTSD --            11        maladaptive.
12    A.   Well --                                                  12   Q.   Maladaptive coping?
13    Q.   -- without looking at the DSM?                           13   A.   Well, it could be a lot of different -- you know,
14    A.   Not in detail that way but, you know, the general        14        like, there's obsessive/compulsive personality
15         idea and the symptoms that are present, you know,        15        which is a pattern of being overly detailed or
16         so.                                                      16        working too much and intolerant of other people's
17    Q.   Okay.     So but in terms of Ms. Naambwe's symptoms,     17        mistakes and errors and so forth and so on.      And
18         you can't say how many of the PTSD symptoms that         18        then it's maladaptive in a number of different
19         are in DSM she actually had for what period of           19        ways, but it's not going to produce somebody
20         time; is that accurate?                                  20        who's not going to tell the truth, you know.
21    A.   Well, I think we could say a lot of the symptoms         21   Q.   Okay.
22         that she did have.   We don't -- what we don't           22   A.   And there's antisocial personality which is a
23         know is the nature of the original, you know,            23        habitual criminal, of course, they're always
24         traumatic event.                                         24        untruthful, you know.
25    Q.   Well, she reported sexual abuse.     Would that be a     25   Q.   And what about, is there such a thing as a
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 1         paranoid personality disorder?                          1        that the situation in the Congo was what created
 2    A.   There is, yeah.                                         2        the PTSD symptoms?
 3    Q.   And can you explain how that manifests?                 3   A.   Right.
 4    A.   Usually just kind of a very widespread distrust         4   Q.   Okay.     Are you saying that to a reasonable degree
 5         and friction with others based upon multiple            5        of medical certainty or just a more likely than
 6         different kinds of distrust and so those people         6        not, you just don't know?
 7         are continuously getting conflict, you know, so         7   A.   I would say more likely than not, you know.
 8         they're oftentimes in lawsuits, paranoid                8   Q.   All right.     What about the depression with the
 9         personality disorders are.                              9        psychotic features, can you pin down a cause of
10    Q.   Well, so is it possible, then, that that               10        that?
11         diagnosis also applies to Miss Naambwe, because        11   A.   Well, not usually.   I mean, there's almost always
12         based on what you just said, it's exactly what's       12        biological factors involved in that particular
13         happened?                                              13        disorder and that would be a need to have, like,
14             MS. POCHOP:     Well --                            14        a pretty good history of, like, her family tree
15    A.   Yeah, I don't think that's what she has, no.           15        and we would have to do some kind of translating
16    Q.   Why not?                                               16        the cross cultures as to what depression is and
17    A.   Well, because I just don't think -- well, for one      17        how that would be reported.   And, you know, it
18         thing, you don't get psychotic symptoms, you           18        would be difficult basically to know everything,
19         know.                                                  19        but there always are biological aspects to it.
20    Q.   With the personality disorder?                         20   Q.   You don't have that information for Miss Naambwe,
21    A.   Right.                                                 21        do you?
22    Q.   But could the personality disorder be comorbid         22   A.   No.
23         with something that gave you psychotic symptoms?       23   Q.   Okay.     So can you state with a degree of --
24    A.   Sure.                                                  24        reasonable degree of medical certainty that she
25    Q.   Okay.     So in terms of the symptoms she came into    25        has major depressive disorder with psychotic
                                                   50                                                                52
 1         the clinic reporting, I just sort of want to nail       1        features?
 2         down if you have any -- if you're giving any            2   A.   Well, I think that we can say that she has major
 3         opinion or making any statement about the cause         3        depression.    Whether the psychotic features are
 4         of them.    You said you really can't determine         4        related to the depression or not is probably open
 5         what happened at work and you can't determine           5        to question.
 6         exactly what happened in the Congo.     You talked      6   Q.   Well, what else would they be related to?
 7         about her feeling better when some coworker was         7   A.   What could they be related to?   They could be
 8         supposedly fired which led you --                       8        related -- be schizophrenia, there's a lot of
 9    A.   No, I didn't say fired.   It says it in the             9        people that are under stress, and when they have
10         record, yeah.                                          10        posttraumatic stress disorder will get transient
11    Q.   Okay.     That he supposedly -- that he went away so   11        psychotic symptoms, you know, so.
12         she was feeling better.                                12   Q.   All right.     So Miss Naambwe experienced an
13    A.   Yeah.                                                  13        incident in the workplace where a coworker made
14    Q.   So I guess I'm trying to figure out, what is the       14        racist statements to her.     Are you expressing any
15         traumatic event?     What are you saying is the        15        opinion as to whether or not that might have
16         traumatic event that has caused her PTSD?              16        caused any of her symptoms?
17    A.   Well, I think the assumption is that before she        17   A.   I do not know.
18         got to the United States, that she was mistreated      18   Q.   You could not say, could you?
19         probably physically, likely sexually, and, you         19   A.   No.
20         know, who knows what in terms of, you know, like,      20   Q.   Would a person with PTSD and major depressive
21         mental abuse or whatever and that that would           21        disorder have a harder time getting over
22         predispose her to, you know, reacting to a lot of      22        something that bothered them in the workplace
23         different situations with anxiety and depression       23        than people without those disorders?
24         and....                                                24   A.   Yes.
25    Q.   So you believe that it's more likely than not          25   Q.   Might they then -- Well, strike that.      Do you
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 1         intend to speak to any of Miss Naambwe's family         1   Q.   So just to -- I keep circling back to this but I
 2         members about her condition?                            2        just want to be certain of this.      You're not
 3    A.   In the future?                                          3        saying that a traumatic event at work caused any
 4    Q.   Yeah.                                                   4        of these symptoms from Miss Naambwe, are you?
 5    A.   Well, it kind of depends, you know.    Like, it may     5   A.   Well, I don't know -- I don't know for certain.
 6         be that I will not, in the ordinary series of           6        It does appear that some degree of anxiety was
 7         events, have anything to do with the supervision        7        present, you know, related to the work situation
 8         of the current resident that's treating her.            8        and that that did get better, you know.
 9    Q.   So that means you don't know if you will?               9   Q.   Okay.     But -- but you don't know the
10    A.   No, I don't.    I don't know if -- but pretty          10        circumstances behind that, correct?
11         likely that she is being seen -- or was seeing a       11   A.   No.
12         resident that's mostly not here when I'm here and      12   Q.   And that getting better did not persist, right?
13         is supervised by Dr. Nuss so that's most likely        13        She relapsed into psychotic symptoms, correct?
14         what's going to happen.                                14   A.   I don't know that for sure, either --
15    Q.   So you don't necessarily anticipate being a part       15   Q.   Well --
16         of Ms. Naambwe's treatment in the future?              16   A.   -- I mean, whether the getting better persisted
17    A.   Right.                                                 17        or not.
18    Q.   Does somebody with the conditions that                 18   Q.   Okay.     Well, do you remember the date on which
19         Miss Naambwe's been diagnosed with tend to have a      19        she said she was getting better?
20         low self-image or self-esteem?                         20   A.   No.   I mean, I could look it up.
21    A.   Certainly can, yeah.                                   21   Q.   Well, do you have it in your notes there?
22    Q.   Do you know if that's the case with Miss Naambwe?      22   A.   Do I have it in my -- no, I don't, really.
23    A.   No, I don't know.                                      23   Q.   Okay.     But assuming that she then relapsed and
24    Q.   Miss Naambwe, in an emergency room visit, said         24        had further psychotic symptoms, would that tend
25         that a coworker coerced her into trying to touch       25        to indicate that that stressor at work is not
                                                     54                                                               56
 1         his genitals and then went behind her and stabbed       1        really the cause of her problems?
 2         her with something and then an electrical shock         2   A.   Well, certainly not the sole cause of her
 3         went up her back.      Would you consider this to be    3        problems, right, the only cause of her problems.
 4         a description -- would you consider this                4        She has other things happening.
 5         description to be accurate that something like          5   Q.   And her perception of an event at work could have
 6         that really happened?                                   6        been distorted based on her symptomology,
 7    A.   Unlikely, yeah.                                         7        correct?
 8    Q.   If Miss Naambwe told Ms. Olson that she will            8   A.   Correct.
 9         frequently see people across the room in flashes        9   Q.   And do you have any idea of what traumatic event
10         of light, is that evidence of a psychotic              10        may have happened at work?
11         symptom?                                               11   A.   Well, she says that -- that people said
12    A.   Yeah.    That's very unlikely, I guess.                12        suggestive things to her and that she was touched
13    Q.   When she says a man at work is placing witchcraft      13        in a sexual fashion and other things that
14         spells on her, is that, again, symptomatic of her      14        happened that seemed like they probably didn't
15         psychosis?                                             15        happen is basically the way it sounds to me, so.
16    A.   Yeah.    I mean -- I mean, I think the resident        16   Q.   And I think we discussed this before, but her
17         that reported that said they didn't know if that       17        reports of being touched and being sexually
18         had something to do with cultural beliefs, but.        18        abused, could that -- those be influenced by her
19    Q.   That was Ms. Olson.      What does that mean?          19        oversensitivity to touch based on what happened
20    A.   What?    That means she doesn't understand the         20        to her in the Congo?
21         culture which she was raised in.                       21   A.   Could be, or could be totally psychotic and it
22    Q.   Okay.    But in terms of this culture, someone who     22        didn't happen at all, you know.     I mean, there's
23         says that is generally thought to be exhibiting        23        no way to know.    I mean....
24         some form of psychosis, correct?                       24   Q.   Early in her time at Smithfield, Miss Naambwe had
25    A.   Correct, yeah.                                         25        a conflict with a coworker which escalated to the
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 1         point where they had to be separated into                  1   Q.   She talked about an individual who in 2014 she
 2         different departments and then Miss Naambwe                2        believes pointed at his penis.          She said he never
 3         claimed that that coworker was trying to run her           3        touched her, never did anything else ever again
 4         over with her car.                                         4        after that but she told her doctors that she was
 5    A.   Uh-huh.                                                    5        being repeatedly sexually abused at work.           What
 6    Q.   What's your reaction to that report?      How does it      6        does that tell you?
 7         connect with the symptoms of the diagnoses?                7   A.   I don't know.    That's weird.
 8    A.   I mean, I don't know.    I mean, I don't have any          8   Q.   It's weird.     Does it suggest a level -- well, it
 9         good answer.                                               9        certainly suggests a poor historian, correct?
10    Q.   You don't know if that's an accurate report or            10   A.   Yeah.
11         not?                                                      11   Q.   And does it suggest a level of untruthfulness?
12    A.   Well, yeah, I don't know anything about it.               12   A.   Well, I don't know.      I mean, it seems unusual,
13    Q.   Okay.     Could it have been a symptom of her             13        right, in a number of different ways, yeah.
14         paranoia?                                                 14   Q.   Are there people who exaggerate their symptoms
15    A.   Sure, could have been.                                    15        when they go to the doctor and talk about them?
16    Q.   So, I mean, you know, the reports consistently            16   A.   Sure, yeah.
17         refer to Miss Naambwe as someone who's a poor             17   Q.   And how do you determine if somebody's
18         historian, whose insight is limited.      Does that       18        exaggerating or not?
19         suggest that many of the incidents she relates            19   A.   You -- The only way is if you have confirming --
20         are not, in fact, true?                                   20        something that's confirming history one way or
21    A.   Not necessarily, but could.                               21        another.
22    Q.   It could?                                                 22   Q.   And in this case, you don't have that, correct?
23    A.   Yeah.                                                     23   A.   No.
24    Q.   So it's possible that if you went into the                24               MS. CALEM:     Okay.     Let's go off the record.
25         workplace and talked to everybody who was                 25        I think I'm done.
                                                    58                                                                      60
 1         involved in these incidents, you would find out            1         (An off-the-record discussion was held.)
 2         that Ms. Naambwe's version of events did not               2               MS. MARSO:     Let's go on the record.
 3         tally with what they perceived to be real?                 3               THE WITNESS:     Yeah.     On the record you were
 4    A.   Correct, yeah, could be.                                   4        saying you didn't have much more to ask, right?
 5    Q.   If Miss Naambwe acknowledged that the information          5               MS. CALEM:     Right.    But you were making a
 6         she gave her doctors about what was happening at           6        comment.
 7         work was not accurate, what would that tell you            7               THE WITNESS:     Yeah.     I was just making an
 8         about her level of truthfulness?                           8        offhand comment.
 9    A.   I mean, if she told me the things she told the             9               MS. CALEM:     Okay.     Is it relevant to
10         doctors weren't true?                                     10        Miss Naambwe?
11    Q.   Well, let me go back and explain this.        In her --   11               THE WITNESS:     No.
12         in Miss Naambwe's deposition, I asked her about a         12               MS. CALEM:     All right.     We're going to go
13         report that she gave to her doctor about being            13        off.
14         repeatedly sexually abused by a man who she'd             14              (An off-the-record discussion was held.)
15         accused of sexual harassment, and she conceded to         15               MS. CALEM:     Why don't you go ahead,
16         me that, in fact, that report that she gave her           16        Stephanie.
17         doctor was not true, he had not repeatedly                17        EXAMINATION BY MS. POCHOP:
18         sexually harassed her.     What does that tell you        18   Q.   You haven't personally had a significant amount
19         about her level of truthfulness in reporting her          19        of contact with Miss Naambwe?
20         symptoms?                                                 20   A.   Not much, no.
21    A.   I don't know.    What did she say did happen?             21   Q.   Okay.    The contact you have had has -- you've
22    Q.   She said that early in years before, he had               22        observed that there's a language barrier for her?
23         pointed at his penis but otherwise had not                23   A.   Correct.
24         touched her.                                              24   Q.   How does her language barrier affect your ability
25    A.   Years before?                                             25        to get a history from her?
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 1    A.   Well, it's hard to get a description of events        1   A.   Yes.
 2         and understand exactly what she means.                2   Q.   What did -- what did -- what was the conclusion
 3    Q.   Do you have a way of assessing how well she           3        reached by the residents that evaluated her in
 4         understands what you're relating to her in            4        terms of her work environment?
 5         English?                                              5   A.   I think they would -- they all thought that
 6    A.   Not really, no.     I mean, probably need a good      6        something was happening at work that was causing
 7         translator, you know, in order to be able to          7        distress, a lot of distress, and I think most of
 8         understand anything.                                  8        them would say they don't know exactly what it
 9    Q.   Have you observed -- do you think that her level      9        was that was producing the distress.
10         of education has -- creates a barrier in terms of    10   Q.   In your experience as a treating physician, can a
11         her insight and understanding of her condition?      11        hostile work environment exacerbate PTSD
12    A.   Probably, yes.                                       12        symptoms?
13    Q.   And how -- how would that affect her ability to      13   A.   Sure, yes.
14         understand her -- have insight into her              14   Q.   Can a hostile work environment exacerbate major
15         condition?                                           15        depressive symptoms?
16    A.   Would make it certainly less -- less ability to      16   A.   Yes.
17         communicate about it, for sure.                      17   Q.   Would -- what kind of advice would you give a
18    Q.   Okay.     You mentioned that there's cultural        18        person who has PTSD and major depressive symptoms
19         differences that impact the ability to diagnose      19        like Sala who reports feeling very stressful and
20         and treat Miss Naambwe.      How does -- how do      20        having these incidents at work?     What should she
21         cultural differences figure into the evaluation      21        do on her day-to-day work life to try to make
22         and treatment that she's been provided here?         22        herself better?
23    A.   Well, cultural differences probably make it          23               MS. CALEM:   Objection.
24         difficult for the residents or myself or whoever     24   A.   Well, I mean, you would want, if possible, some
25         attending to understand completely what she means    25        kind of an environmental intervention, could be
                                                     62                                                            64
 1         when she says almost anything, you know.              1        like a case manager or a home care worker or some
 2    Q.   All right.     In terms of -- so you have a person    2        kind of cooperation with the HR department at the
 3         that's difficult to communicate with and even         3        work or something like that; you know, something
 4         just to really, like, literally understand what       4        that would -- could get a direct handle on what
 5         they're saying?                                       5        was going on and if there were any solutions that
 6    A.   Uh-huh.                                               6        could happen within her environment that could
 7    Q.   Yes?                                                  7        make things a lot better.
 8    A.   Yes.                                                  8   Q.   Do you know what's been recommended to her in
 9    Q.   And can you tell me, then, what is the goal of        9        terms of when she believes these incidents have
10         the treatment that she's received here at Avera?     10        arisen at work, what medical advice has she
11    A.   Would be to decrease the amount of hallucinatory     11        gotten about how she should deal with them?        She
12         symptoms that she has, decrease the amount of        12        supposed to come here and talk to a physician or
13         overt paranoid symptoms that she was -- that she     13        is she he supposed to talk to somebody at work?
14         had, and improve her mood and probably reduce the    14        What's the protocol --
15         fearfulness, anxiety.                                15               MS. CALEM:   Objection.
16    Q.   In your treatment, do you think that her work        16   Q.   -- recommended for her?
17         environment figures into the symptoms that she is    17   A.   Yeah.   The only person that really directly
18         reporting?                                           18        talked about that was the therapist, you know,
19                MS. CALEM:   Objection.                       19        said that she should go to HR and she should
20    A.   Yeah.   I mean, directly I probably can't say.       20        report this and told her multiple different
21         Several of the residents and other doctors did,      21        avenues to take to intervene in the situation but
22         you know, so.                                        22        that's the only place.    Of course, she's not a
23    Q.   But when you reviewed -- I mean, you reviewed        23        physician.   She was a therapist who was working
24         their notes because you were approving your          24        with the family practice department.
25         residents' evaluation, right?                        25   Q.   Having reviewed her notes in the process of
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1          providing treatment, do you think that advising          1    Q.   And based on what she told them?
2          Sala to report to HR or follow company protocols         2    A.   Yes.
3          is a healthy thing for her to do?                        3                MS. CALEM:     Nothing further.
4                  MS. CALEM:    Objection.                         4                MS. POCHOP:    I don't have anything further.
5     A.   Yeah.    Well, I mean, I think, yeah, ordinarily         5                MS. CALEM:     Thank you very much for your
6          good advice to be given but I'm not -- Yeah.         I   6         time.
7          don't know what all the issues are here, but.            7                MS. MARSO:     Do you want to read and sign or
8     Q.   Okay.     And in terms of, I see that the last note      8         waive the reading and signing?       Do you know what
9          that you have is September 13th of 2018, and it          9         that means?
10         indicates that therapy is not recommended -- or          10               THE WITNESS:     Yes.
11         not indicated at this time.         Why would -- I'm     11               MS. MARSO:     I think I want to waive the
12         looking over here on page 4 under the treatment          12        reading and signing.
13         plan.                                                    13                              * * *
14    A.   Uh-huh.                                                  14         (Deposition concluded at 6:19 p.m., 9-24-18.)
15    Q.   Why -- why isn't therapy recommended or indicated        15
16         at this time?                                            16
17    A.   Well, I think that therapy isn't indicated in,           17
18         like, a generic term or, like, for the disorder          18
19         that she has or wouldn't ordinarily help.        I       19
20         think they're meaning the communication barrier          20
21         is too great --                                          21
22    Q.   Okay.                                                    22
23    A.   -- to be able to make therapy work.                      23
24                 MS. POCHOP:    Thank you.   I don't have         24
25         anything further.                                        25
                                                                                                                           68
                                                       66
                                                                    1         STATE OF SOUTH DAKOTA)
1                  MS. CALEM:    I just want to follow up on one                                                       CERTIFICATE
                                                                    2         COUNTY OF MINNEHAHA       )
2          thing.
3          EXAMINATION BY MS. CALEM:                                3                 I, Suzanne Brudigan, Court Reporter and
                                                                              Notary Public within and for the State of South
4     Q.   You said that you think the residents would say          4         Dakota:
                                                                                      DO HEREBY ATTEST that the witness was
5          that something happened at work that was causing
                                                                    5         first duly sworn by me to testify to the truth,
6          her distress?                                                      the whole truth, and nothing but the truth
                                                                    6         relative to the matter under consideration, and
7     A.   Yes.                                                               that the foregoing pages 1-67, inclusive, are a
8     Q.   Can you tell me precisely the basis for that             7         true and correct transcript of my stenotype notes
                                                                              made during the time of the taking of the
9          statement?     You can look through your records if      8         deposition of this witness.
                                                                                      I FURTHER ASSERT that I am not an
10         you want.     What is it that they said that             9         attorney for, nor related to the parties to this
11         indicated that?                                                    action, and that I am in no way interested in the
                                                                    10        outcome of this action.
12    A.   Well, just describing what she had told them,                              In testimony whereof, I have hereunto set
13         basically.
                                                                    11        my hand and official seal this 30th day of
                                                                              September, 2018.
14    Q.   So it's based on her reporting, correct?                 12
15    A.   Yes, correct.                                            13
16    Q.   They did not independently corroborate any of                                     /s/ Suzanne Brudigan
                                                                    14                       _______________________________
17         this?                                                                             Suzanne Brudigan, Notary Public
                                                                    15
18    A.   No.
19    Q.   Is there a particular report that you're                 16                       My Commission expires 8-4-20.

20         referring to in which there's a reference to             17
21         something happening at work?                             18
                                                                    19
22    A.   Well, there's more than one report.      And if you      20
                                                                    21
23         want me to, I can go through and pick it out             22
24         exactly who said what, but there's several people        23
                                                                    24
25         who made references to things happening at work.         25
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